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Case: 1:02-Cv-05452 Document #: 69 Filed: 04/04/06 Page 1 of 1 Page|D #:416 /

United States District Court, Northern District of lllinois /'

 

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l\/Iaria Valdez

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CASE NUMBER

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DATE

 

 

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CASE
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Alejandra Sanchez, et al vs. Stampede Meat lne, et ul

 

DOCKET ENTRY TEXT

 

 

- l Fur l`ul'ther detail see separate ol'del'(s).]

Fairness hearing held on 4/4/06. Enter Final Judgrnent Order dismissing the case with prejudice pursuant to
the settlement agreement Case set for status on 4/11/'06 at 9:30 a.m. for miscellaneous matters

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